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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


                                       X
  In re PAYMENT CARD INTERCHANGE       : MDL No. 1720(MKB)(JAM)
  FEE AND MERCHANT DISCOUNT            :
  ANTITRUST LITIGATION                 : Civil No. 05-5075(MKB)(JAM)
                                       :
                                       : RULE 23(b)(3) CLASS COUNSEL’S
  This Document Relates To:            : MONTHLY REPORT REGARDING THIRD-
                                       : PARTY ENTITIES
           ALL ACTIONS.                :
                                       :
                                       x




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  I.       INTRODUCTION

           This is the eighteenth monthly report regarding third-party claims filers following the

  Court’s request.

           Rule 23(b)(3) Class Counsel (“Class Counsel”) and Epiq continue to receive

  communications regarding third parties. Calls received via the toll-free number are tracked and

  reported to Class Counsel from Epiq. Class Counsel also directly receives calls and emails

  regarding third parties that are followed up on immediately. Additionally, Class Counsel regularly

  searches online using various keywords to monitor new entrants. Epiq received 37 contacts

  regarding third parties since the last report. It also forwarded to Class Counsel certain specific

  issues which are discussed below.

           Now that the claims-filing deadline has passed, Class Counsel and Epiq expect that issues

  related to the solicitation of class members for filing services to decrease, but expect issues related

  to third parties will continue to arise regularly. Monthly reports will continue.
  II.      STATUS OF PREVIOUS ORDERS TO SHOW CAUSE

           A.         Cardsettlement.org and Merchant Stronghold

           Matters related to cardsettlement.org appear to be managed. Cardsettlement.org provides
  a report regularly to detail its efforts regarding confirmation of engagement.

           Below is a chart, updated as of April 4, 2025, provided by cardsettlement.org regarding
  client contacts:

                                 Affirmed                229
                                 Pending                 580
                                 Rejected                2
                                 Total                   811

           The parties reached an agreement regarding cardsettlement.org’s payment of Epiq’s costs

  in handling issues related to cardsettlement.org from November 2024.              Class Counsel has

  confirmed the second payment has been received by Epiq.

           Class Counsel has still not received any further contact from Merchant Stronghold.

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           B.         Pacific Travel and Services LLC

           Epiq alerted Class Counsel to a concerning issue related to Pacific Travel and Services

  LLC (“Pacific Travel”), a company that appeared to be signing up merchants for claims filing and

  demanding pre-payment for services based on purported expected settlement benefits that were

  not true. It further failed to include the Court-ordered disclaimers and shared other misleading

  information. It had attempted to file claims on behalf of 80 class members. Class Counsel wrote

  to the Court on March 31, 2025, and sought an Order to Show Cause. ECF 9585. The Court

  granted the request the same day.

           The Court provided a response date of April 7, 2025 to Pacific Travel. Pacific Travel

  provided a response on April 7, 2025. ECF 9594. On April 8, 2025, Class Counsel responded to

  Pacific Travel and requested the Court enter an Order regarding Pacific Travel. ECF 9596. On

  April 9, 2025, the Court issued a Scheduling Order setting a telephonic status conference for April

  24, 2025.
           C.         JAM3STRO

           On March 7, 2025, the Court issued a Sua Sponte Report and Recommendation regarding

  the entity JAM3STRO. ECF 9572. The time to object to the Report and Recommendation has

  elapsed. Id. at 13-14. There has still been no communication from this entity, despite service of

  the various Court orders regarding JAM3STRO. Further, Class Counsel still has received no

  response to the letter sent to the Department of Justice on March 11, 2025.
  III.     MISLEADING WEBSITES, SOLICITATIONS, AND OTHER MATTERS

           A.         LenCred

           On March 31, 2025, Class Counsel sent a letter to the Court regarding another issue that
  had arisen regarding LenCred. ECF 9587. During a review of social media sites conducted by

  Class Counsel to periodically ensure compliance with Court orders, Class Counsel discovered a

  Facebook post containing false and/or misleading information. Class Counsel contacted LenCred

  and the material was taken down. However, because of the serious nature of the problem and the

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  repeated issues with referral partners of LenCred, Class Counsel alerted the Court to the issue.

  Subsequently, the Court ordered LenCred to provide additional information.                   LenCred’s

  submission on April 4, 2025 was found to be lacking in specificity. April 4, 2025 text-entry Order.

           On April 7, 2025, LenCred provided an additional response to the Court. ECF 9592. Class

  Counsel filed a response on April 8, 2025. ECF 9596. On April 9, 2025, the Court issued a

  Scheduling Order setting a telephonic status conference for April 24, 2025.
           B.         Other Issues Related To Solicitations – Update Regarding Matter
                      Raised in the March Report

           After business hours on March 6, 2025, Epiq alerted Class Counsel to a potential issue with
  a new third-party claims filer. After exchanging several emails and participating in a meeting with

  Epiq, it was determined that issues related to this third party were a result of certain Hebrew

  language materials not translating properly. Epiq and the entity were able to correct the problem

  and no further action appears warranted at this time.
           C.         Outreach to Third Parties by Epiq

           As Class Counsel previously reported, since August 18, 2023, Epiq has been performing

  specific outreach efforts to known third-party claims filers.

           As of April 4, 2025, Epiq has received client lists from a total of 678 third-party claim filers

  claiming representation of 10 or more claimants which is an increase of 27 third-party claim filers

  from last month’s report. The third parties claim total representation of 990,912 Tax Identification

  Numbers (“TINs”), which is an increase of 3,642 TINs from last month’s report.




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  IV.      CONCLUSION

           Class Counsel will continue to apprise the Court regarding issues with third-party claims

  filers via monthly reports and will bring urgent matters to the Court’s attention via letter. The next

  monthly report will be filed on May 7, 2025.
   DATED: April 11, 2025                         ROBBINS GELLER RUDMAN
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